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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
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11     MAGBIS E. LOPEZ MUNOZ,                       No. 2:19-cv-02310 JAK (SKx)
12     individually, on a representative basis, and
       on behalf of all others similarly situated,
13
14                 Plaintiff,                    JUDGMENT
15
             v.
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       PENTAIR WATER POOL AND SPA,               JS-6
       INC.; PENTAIR MANAGEMENT
18     COMPANY, and DOES 1 through 10,
19     inclusive,
20
                   Defendants.
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 1          The Parties reached a settlement subject to Court approval as represented in the
 2    Settlement Agreement that was filed previously. A hearing on the motion for final
 3    approval was then conducted, and it was granted with certain modifications in the Final
 4    Approval Order. Therefore,
 5          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:
 6          1.      There is jurisdiction over the parties to this action, including all Class
 7    Members.
 8          2.      Judgment is entered whereby Plaintiffs and Class Members, except those
 9    who excluded themselves from the Settlement, shall take from Defendants only as
10    expressly set forth in the Class Action Settlement, as approved in the Final Approval
11    Order.
12          3.      The Court reserves exclusive and continuing jurisdiction over this action,
13    Plaintiffs, Class Members and Defendants, as to the following:
14               a. Supervising the implementation, enforcement, construction and
15                  interpretation of the Settlement, the Preliminary Approval Order, the plan of
16                  allocation, the Final Approval Order and this Judgment; and
17               b. Supervising distribution of amounts to be paid under the terms of the Final
18                  Approval Order.
19          4.      This action is dismissed with prejudice, with each party to bear its own costs
20    and attorney’s fees.
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22          IT IS SO ORDERED.
23
24            November 12, 2021
      Dated: _____________________                    ________________________________
25                                                    John A. Kronstadt
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                                                      United States District Judge

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